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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

  BMG RIGHTS MANAGEMENT (US) LLC,
  et al.,
                Plaintiffs,
                                                     Civil No. 1:14-cv-1611 (LO/JFA)
                 v.

  COX COMMUNICATIONS, INC, et al.,

                         Defendants.

      REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF DEFENDANTS’
          MOTION IN LIMINE TO PRECLUDE EVIDENCE AND TESTIMONY
          CONCERNING PLAINTIFF’S VICARIOUS INFRINGEMENT CLAIM

 I.     INTRODUCTION

        When the last jury rejected its vicarious liability claim, BMG sought judgment as a matter

 of law solely on that issue (Dkt. 759, 761), yet failed to file a cross-appeal challenging the Court’s

 denial of that motion. BMG now seeks to excuse this failure by asserting that it “had no standing

 to pursue a cross-appeal” because its vicarious liability claim “would have provided alternative

 grounds to support the same award of statutory damages but would not have enlarged BMG’s

 rights.” Opp. 2. BMG does not explain how, if it did not suffer any injury that enabled the Fourth

 Circuit to decide a cross-appeal, this Court nonetheless would have had jurisdiction to grant JMOL

 based on the same injury and argument. But even setting that aside, federal law provides a proce-

 dure for BMG’s supposed predicament—a conditional cross-appeal. Under “the consensus of

 circuit authority,” because a party “could have filed a ‘protective’ or ‘conditional’ cross-appeal of

 the adverse [findings],” a “decision not to cross-appeal the jury’s [adverse] findings … prevent[s]

 [the party] from raising the same rejected … claims in the second district court proceeding.” ART

 Midwest Inc. v. Atl. Ltd. P’ship XII, 742 F.3d 206, 212 (5th Cir. 2014). This principle holds “[e]ven



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 though [the party] prevailed on many of [its] claims in the first district court proceeding.” Id.

 Thus, having failed to preserve its vicarious liability claim, BMG has waived it.

        Seeking to avoid this result, BMG cites inapposite precedent involving “mistrials” and in-

 sists that its vicarious and contributory liability claims are so “deeply interwoven” factually that

 retrial of vicarious liability may not be denied without causing “injustice.” Opp. 1. As a threshold

 matter, BMG does not even attempt to explain how any injustice will result from leaving undis-

 turbed the jury’s reasoned verdict on vicarious liability, entered after a full trial on the merits. Nor

 could it. Further, BMG cannot deny that these claims were pled separately here, have distinct

 elements, and are routinely treated as “distinct and separable” by courts including the Fourth Cir-

 cuit in this very case and the Supreme Court in Grokster.1

        Nor is there any merit to BMG’s suggestion that, if the Court bars retrying its vicarious

 liability claim, “the same logic” should apply to “direct infringement.” Opp. 11. The Fourth

 Circuit’s infringement standard compels the jury to decide anew whether BMG can prove direct

 infringement of the specific BMG works at issue—“infringement … occurring somewhere on

 [Cox’s] network” is not enough. BMG Rights Mgmt. (US) LLC v. Cox Commc’ns, Inc., 881 F.3d

 293, 311 (4th Cir. 2018). Further, that direct infringement may be “an independent [] cause of action

 with independent elements” in some cases (Opp. 11) cannot change the fact that BMG never pled

 it as such here. In this case, direct infringement is (as BMG later admits) merely “an element of

 vicarious liability.” Id. (emphasis added). BMG cites no authority holding that courts may (let

 alone must) carve up the elements of claims, retrying only those elements that were the basis for



 1
    BMG suggests that it is Cox’s burden both to “deny … that a partial trial will result in ‘injustice’”
 and to “deny … that the underlying facts are deeply interwoven and overlapping.” Opp. 6. BMG
 is wrong on the facts (Cox denied both) and wrong on the law (it is not Cox’s burden). As dis-
 cussed below, no authority support BMG’s invented legal standard.

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 the circuit court’s order of a new trial. That may explain why BMG commented (at the May 10,

 2018 status conference) that it needed to file a successful Rule 56 motion if it wished to remove

 direct infringement from the case.

        In any event, this Court should bar BMG from asserting a vicarious liability claim that the

 jury has rejected, and that BMG failed to preserve by filing a conditional cross-appeal.

 II.    ARGUMENT

        A.      BMG’s suggestion that it could not have cross-appealed the adverse jury ver-
                dict on vicarious liability not only is inconsistent with its own conduct in seek-
                ing JMOL on that very question, but is foreclosed by the availability of a con-
                ditional or protective cross-appeal.

        BMG’s principal excuse for failing to cross-appeal the denial of its JMOL motion is that

 “it did not have grounds to appeal” because it “won a complete verdict” that “‘caused [it] no in-

 jury,’” such that appealing “[v]icarious liability would have supplied an alternative ground for the

 same relief, but it would not have expanded BMG’s rights or its recovery.” Opp. 7 (citation omit-

 ted). That argument lacks merit.

        As a preliminary matter, BMG misrepresents its leading (out-of-circuit) authority for the

 proposition that “[a] prevailing party does not have standing to appeal because it is assumed that the

 judgment has caused party no injury.” Opp. 7 ((mis)quoting Agripost, Inc. v. Miami-Dade County,

 ex rel. Manager and Bd. of Country Comm’rs, 195 F.3d 1225, 1230 (11th Cir. 1999)). The Elev-

 enth Circuit’s decision actually says that “the prevailing party” “[o]rdinarily” does not have stand-

 ing to appeal “in such a case.” Agripost, 195 F.3d at 1230. Remarkably, however, BMG omits

 from its quotation the word “ordinarily,” drastically changing the decision’s meaning—and then




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 compounds the error by further omitting that the court in Agripost found an exception to the rule

 and allowed the appeal.2

        In any event, the fact that a party may “ordinarily” not be injured by a judgment that is

 favorable on one claim but rejects another is no excuse for failing to file a conditional or protective

 cross-appeal that the Court of Appeals may reach if it reverses the judgment. Compare, e.g., Bank

 of Montreal v. Signet Bank, 193 F.3d 818, 826 (4th Cir. 1999) (ordering a new trial and stating

 that, “[b]ecause we grant Signet some of the relief it seeks, we must consider BMO’s conditional

 cross-appeals”), with Button v. Chumney, 619 F. App’x 239 (4th Cir. 2015) (“Because we affirm

 the district court’s grant of summary judgment, we dismiss as moot Chesapeake’s cross-appeal of

 the same order.”). As Wright & Miller explain, “a party who won [below] has standing to file a

 conditional cross-appeal to challenge unfavorable findings, to protect against the risk that the find-

 ings may come to control if favorable findings are reversed.” 15A Charles Alan Wright & Arthur

 R. Miller (“Wright & Miller”), Fed. Prac. & Proc. Juris. § 3902 (2d ed.) (Special Limits on Juris-

 diction–Standing). And the failure to do so has consequences.

        In ART Midwest, for example, the Fifth Circuit barred the plaintiffs from raising on remand

 a claim that they had not preserved by filing a conditional cross appeal in the wake of an earlier

 judgment. Specifically, the plaintiffs had asserted both a fraud claim and a claim for a declaratory

 judgment that they did not breach a contract with the defendant; for its part, the defendant coun-

 terclaimed for breach of contract. 742 F.3d at 209. The claims were heard by a jury, which sided



 2
  BMG similarly misrepresents the Fourth Circuit’s decision in Reynolds v. Am. Nat’l Red Cross:
 contrary to BMG’s summary, that case (a) dismissed a defendant’s cross-appeal seeking to uphold
 an element of a claim upon which defendant had prevailed, and (b) vacated the district court’s
 holding as to that same element. 701 F.3d 143, 155-56 (4th Cir. 2012) (rejecting plaintiff’s appeal,
 holding that defendant’s “cross-appeal on whether the Chapter is an ‘employer’ is unnecessary,”
 and vacating district court’s holding as to that element).

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 with the plaintiffs on their contract claim, but with the defendants on their fraud claim. The de-

 fendant appealed the adverse contract verdict, but the plaintiffs did not conditionally cross-appeal

 their loss on the fraud claim. The Fifth Circuit then reversed on the contract claim, remanding for

 a new trial. Id. at 209-10.

         On remand, the plaintiffs tried to resurrect their fraud claim, but the district court barred

 them from doing so, explaining that it “is undisputed that the jury found against the ART Entities

 on their independent fraud claims—a result which neither party appealed and which, therefore,

 remains decided against the ART Entities.” Id. at 210. The plaintiffs later appealed that ruling,

 arguing “that ‘[t]here was no need to appeal’” the first verdict because “they ‘won at the first trial

 on their breach of contract claims.’” Id. at 211. But the Fifth Circuit affirmed, noting that “other

 circuit courts have found that ‘[i]t is elementary that where an argument could have been raised on

 an initial appeal, it is inappropriate to consider that argument on a second appeal following re-

 mand.’” Id. (citations omitted). As the court held, the plaintiffs’ “decision not to cross-appeal the

 jury’s fraud findings in the first district court proceeding prevented them from raising the same

 rejected fraud claims in the second district court proceeding. Even though they prevailed on many

 of their claims in the first district court proceeding, the consensus of circuit authority supports that

 the [plaintiffs] could have filed a ‘protective’ or ‘conditional’ cross-appeal of the adverse fraud

 finding.” Id. at 212.

         The same reasoning that supported denying the plaintiffs’ fraud defense on remand in ART

 Midwest supports barring BMG’s vicarious liability claim here. There, as here, the plaintiff pre-

 vailed on one claim but not on another arising out of the same general facts. There, as here, the

 plaintiffs could have filed a conditional cross-appeal from the jury’s adverse resolution of their

 other claim. There, as here, a ruling in the plaintiffs’ favor on the other claim would have simply



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 preserved their victory, but on alternative grounds. And there, as here, “the [plaintiff’s] decision

 not to cross-appeal the jury’s adverse … findings in the first district court proceeding prevented

 them from raising the same rejected … claims in the second district court proceeding.” Id. at 213.

 Other circuits agree. E.g., Crocker v. Piedmont Aviation, Inc., 49 F.3d 735, 739 (D.C. Cir. 1995)

 (“appellate courts are precluded from revisiting not just prior appellate decisions but also those

 prior rulings of the trial court that could have been but were not challenged on an earlier appeal.”);

 Munoz v. Cty. of Imperial, 667 F.2d 811, 817 (9th Cir. 1982) (“We need not and do not consider a

 new contention that could have been but was not raised on the prior appeal.”); Fogel v. Chestnutt,

 668 F.2d 100, 109 (2d Cir. 1981) (“It would be absurd that a party who has chosen not to argue a

 point on a first appeal should stand better as regards the law of the case than one who had argued

 and lost.”); Kessler v. Nat’l Enters., Inc., 203 F.3d 1058, 1059 (8th Cir. 2000) (“The general rule

 is that, where an argument could have been raised on an initial appeal, it is inappropriate to con-

 sider that argument on a second appeal following remand.”) (citation omitted); see also Seibert v.

 Jackson Cty., Mississippi, 2017 WL 2818210, at *1 (S.D. Miss. June 29, 2017) (“because [defend-

 ant] could have filed a conditional cross-appeal on the issues of a new trial on the IIED claim, a

 remittitur, or a new trial on damages, his failure to do so constitutes a waiver of those arguments,

 and they may not be addressed by this Court on remand.”).

        Citing Wright & Miller, BMG says “[a] cross-appeal ‘is not required to preserve the right

 to orderly disposition of issues that become relevant only because of reversal.’” Opp. 8 (quoting

 15A Wright & Miller, Fed. Prac. & Proc. § 3904 (3d ed. 2004)). But BMG’s vicarious liability

 claim did not “become relevant only because of reversal.” It was relevant all along. The cases

 cited in Wright & Miller confirm this interpretation. See, e.g., U.S. Fidelity & Guar. Co. v. Con-

 crete Holding Co., 168 F.3d 340, 342–43 (8th Cir. 1999) (third-party defendant was not required



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 to cross-appeal indemnification, since it became relevant only upon reversal of the order denying

 interest to the plaintiff). They do not support the notion that BMG was free to take its chances on

 appeal, and then reassert a claim rejected by the first jury that could have been conditionally cross-

 appealed or asserted as an alternative ground for affirmance.3

        BMG attempts to distinguish Omni Outdoor Advert., Inc. v. Columbia Outdoor Advert.,

 Inc., 974 F.2d 502 (4th Cir. 1992), on the ground that the only reason that BMG had to cross-

 appeal vicarious liability was “the possibility of a reversal.” Opp. 9 (emphasis added). But as the

 cases discussed above confirm, the “possibility of reversal” is precisely why a litigant, successful

 below, must file a conditional or protective cross-appeal. That BMG chose to ignore that routine

 possibility—after seeking JMOL on the vicarious liability claim, no less—cannot justify its elev-

 enth-hour attempt to revive a claim rejected by the jury.

        Finally, even if BMG could not have cross-appealed its loss on the vicarious liability is-

 sue—and it certainly could have—nothing prevented it from raising vicarious liability as an alter-

 native ground for affirmance of the jury’s verdict. See Cooper Indus., Ltd. v. Nat'l Union Fire Ins.

 Co. of Pittsburgh, Pa., 876 F.3d 119, 127 (5th Cir. 2017) (noting that defendant “was required to

 raise [its] arguments to avoid forfeiture,” but that the requirement would be met if it had “simply

 raised them as alternate grounds for affirmance in its opposition brief.”). BMG’s appeal brief

 failed to do so, instead simply urging without reservation that “the decision below should be af-

 firmed.” ECF 44 (4th Cir. Case No. 16-1972) at 72.

        Having failed to preserve the vicarious liability issue by any means, BMG has waived it.




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   Those cases do establish, however, that Cox is free to seek the exclusion of evidence based on
 the Fourth Circuit’s new standard for contributory infringement. ECF 936, 937.

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        B.      Theories of contributory liability and vicarious infringement are distinct and
                separable, and there is no injustice in permitting the jury’s verdict on vicari-
                ous liability to stand.

        Aware that its failure to file a protective or conditional cross-appeal leaves it subject to the

 usual rule on waiver, BMG relies heavily on assertions that many of the same facts that are relevant

 to contributory liability are also relevant to vicarious liability, ultimately asserting that the two

 theories are so “deeply interwoven” that retrial of vicarious liability may not be denied without

 causing “injustice.” Opp. 1. BMG misstates the governing standard, and misapprehends what

 courts mean when they say that legal theories are “interwoven.” Even taking BMG’s erroneous

 standard at face value, however, BMG fails to demonstrate either that contributory infringement

 and vicarious liability are “inextricably intertwined,” or that any “injustice” will result from ex-

 cluding the moot issue of vicarious liability on re-trial.

                1.      BMG repeatedly misstates and misrepresents governing legal stand-
                        ards.

        The first authority cited in BMG’s brief (Opp. 2) is a First Circuit decision that BMG quotes

 for the proposition that “[t]he general practice after a mistrial is a full retrial of all issues in the

 case.” Drumgold v. Callahan, 707 F.3d 28, 46-47 (1st Cir. 2013). But the case before this Court

 does not involve a mistrial, which in Drumgold resulted from the fact that the jury “deadlocked on

 whether [a defendant’s] failure to disclose … evidence had caused [the plaintiff’s earlier criminal]

 conviction.” Id. at 32. This case involves a verdict rendered on two separate and distinct copyright

 infringement claims.

        Even if this case had involved a mistrial, however, or the Eleventh Circuit’s standard gov-

 erned here—neither of which is the case—BMG misreads Drumgold. Even a mistrial does not

 “require” a full retrial where “some issues have been properly and conclusively resolved,” and it

 “clearly appears” that they are “so distinct and separable from the others that a trial of [them] alone


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 may be had without injustice.” 707 F.3d at 46-47 (citation omitted). And here, the issue of vicar-

 ious liability is a separate and distinct issue that was “properly and conclusively resolved” by both

 the jury and the Court, which denied BMG’s post-trial JMOL motion. ECF 794.

        As the Fourth Circuit explained long ago, “[t]he propriety of directing a new trial to less

 than all of the issues of fact when they are separable has been recognized by the courts.” Atl. Coast

 Line R.R. Co. v. Bennett, 251 F.2d 934, 938 (4th Cir. 1958). To be sure, the practice should be

 followed only where “the issue to be retried is so distinct and separable from the others that the

 trial of it alone may be had without injustice.” 251 F.2d at 938. But Cox easily meets this test.

 Opening Mem. 4-7.

        In an attempt to avoid the consequences of its own failure to appeal the settled issue of

 vicarious liability (or even to argue it as an alternative ground for affirmance), BMG says a “gov-

 erning legal standard” requires that Cox both “deny … that a partial trial will result in ‘injustice’,”

 and “deny … that the underlying facts are deeply interwoven and overlapping.” Opp. 6 (citing Atl.

 Coast Line R.R. Co., 251 F.2d at 939). But BMG’s argument lacks merit both as a matter of law

 (it is not Cox’s burden to affirmatively “deny” either point) and fact (Cox denies both).

                2.      BMG makes no attempt to show that injustice would result if the jury’s
                        unchallenged verdict is permitted to stand, and it is well settled that
                        vicarious liability and contributory liability are distinct and separable
                        theories of secondary infringement.

        As noted above, “when a motion for a new trial is granted at the instance of one of the

 parties and it appears to the court that justice can be done by limiting the retrial to the area in

 which error occurred … the practice usually preserves to the moving party so much of the verdict

 as was in his favor and gives him an opportunity to try again the part which he has lost.” 251 F.2d

 at 938. The issue to be retried need only be “so distinct and separable from the other that the trial

 of it alone may be had without injustice.” 251 F.2d at 938. Here, BMG cannot show, and does


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  not even attempt to argue, that any injustice would result from retaining the jury’s unchallenged

  verdict on vicarious liability. Because resulting injustice, not distinctness of issues in the abstract,

  is the touchstone, BMG’s opposition fails on its face.

         It is unsurprising that BMG has located a handful of cases where courts have found that

  injustice was likely to result from attempting to separate inseparable claims. None of them, how-

  ever, is factually or legally similar to this case. Indeed, several of BMG’s cases found that partial

  retrial was appropriate. See, e.g., Rice v. Cmty. Health Ass’n, 203 F.3d 283, 290 (4th Cir. 2000)

  (holding, where two forms of available damages “not only require distinct elements of proof, but

  also focus on different time frames,” that “a partial new trial on the consequential damages issue

  alone will not result in jury confusion and uncertainty,” and a retrial of both “would endanger the

  latter award, one which [defendant] has forfeited its right to challenge.”); Norfolk S. R.R. Co. v.

  Ferebee, 238 U.S. 269, 274 (1915) (upholding partial retrial on issues that were found to be “in

  fact separable, so that the splitting up the issues and granting a partial new trial did not … operate

  to deprive the defendant of a Federal right.”).

         It is well established, moreover, that vicarious liability and contributory infringement are

  both distinct and easily separable, notwithstanding that certain facts may be relevant to both theo-

  ries. BMG’s argument to the contrary is predicated largely on the mistaken belief that merely

  because some facts relevant to vicarious liability may also be relevant to other issues remaining in

  the case, this means that those other issues are “inextricably intertwined” with vicarious liability.

         For example, BMG claims that vaguely characterized and unspecified “evidence of Cox’s

  effort to tolerate infringement on its network in order to gain additional revenue from its subscrib-

  ers” is “directly relevant both to … willful blindness … [and] vicarious liability.” Opp. 1. BMG




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  also argues vaguely that Cox’s role as a “gatekeeper” “underlies” both BMG’s contributory in-

  fringement and vicarious liability theories. Opp. 1-2. From such general allegations, BMG leaps

  to the baseless claim that contributory infringement and vicarious liability “turn on the same set of

  facts and evidence” which are “not merely interwoven but … substantially identical,” and that

  contributory infringement and vicarious liability have “fundamentally the same” factual basis.

  Opp. 3, 4. This sweeping claim is not made less absurd by BMG’s recitation of a handful of areas

  where evidence is purportedly relevant to both contributory infringement and vicarious liability,

  or else willfulness and vicarious liability. See Opp. 4. Even if BMG’s vague, generalized claims

  of a “conceptual and factual overlap between contributory infringement and vicarious liability”

  are taken at face value—which would not be appropriate—there is no support for the notion that

  such “overlap” makes them “inextricably intertwined.” Opp. 5, 11. Still less do BMG’s authorities

  show that any injustice will arise from leaving the jury’s unchallenged verdict intact.

         None of BMG’s authorities undermine our showing—supported by BMG’s own conduct

  throughout this case—that contributory infringement and vicarious liability are “distinct and sep-

  arable.” Citing Grokster, BMG says the “lines between direct infringement, contributory infringe-

  ment and vicarious liability are not clearly drawn.” Opp. 5 (citing Grokster, 545 U.S. at 930 n.9).

  But the very next sentence of the quoted footnote shows that the Court felt free to analyze only

  MGM’s inducement theory of contributory liability, without addressing its vicarious liability the-

  ory (id. at 930 n.9), and other parts of the opinion confirm that the theories have distinct elements

  (id. at 930 (“One infringes contributorily by intentionally inducing or encouraging direct infringe-

  ment, and infringes vicariously by profiting from direct infringement while declining to exercise

  the right to stop or limit it.”) (citations omitted)). Thus, while there may be some overlap between

  the theories—e.g., direct infringement is a required element of both—there is no basis to conclude



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  that contributory infringement and vicarious liability are so “inextricably intertwined” that con-

  tributory liability cannot be tried without vicarious liability—let alone where the latter has been

  resolved by the jury in an earlier trial.4

          In sum, there is no basis in law for BMG’s radical argument that the longstanding, well-

  defined copyright doctrines of contributory infringement and vicarious liability are “inextricably

  intertwined” and cannot be tried separately. See also Opening Mem. 5-6.5




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     BMG’s other authorities fare no better. In Casella v. Morris (which predates Grokster by nearly
  two decades), the Eleventh Circuit expressed “war[iness]” of “sharp-edged delineations” between
  vicarious liability and contributory infringement, but “[n]evertheless” found that defendant’s “ac-
  tions more squarely fall under the contributory infringement label than under the vicarious liability
  standard, as those terms have come to be defined.” 820 F.2d 362, 365 (11th Cir. 1987). BMG’s
  only other authority, a general torts treatise that BMG selectively quotes, concededly offers only
  a “sketch[]” of the “broad outlines” of copyright law, and merely notes that certain facts “might
  be viewed” as “tending to support” either vicarious liability or contributory infringement. Opp. 5
  (citing Dan B. Dobbs, et al., The Law of Torts § 741 (2d ed.)).
  5
     BMG’s extraordinary suggestion that “multiple claims raise the possibility of jury compromise,
  which is itself a reason for complete retrial,” has no merit. Opp. 6. For starters, BMG has provided
  no “reason to think” that any such compromise may have occurred here, and there is none. Further,
  BMG’s cases do not remotely suggest that a full retrial is needed based on the speculative “possi-
  bility” that compromise may have occurred. Indeed, even where there is evidence of compromise,
  courts require retrial only of the issues that were actually compromised. In Schuerholz v. Roach,
  a jury’s “grossly unjust and inadequate” award of $625 for plaintiff’s loss of an eye “[could] give
  rise only to the inference that it did not represent a fair estimate of the plaintiff's loss, but merely
  a difference of opinion among the jurors as to the defendant's liability and a compromise of the
  controversy at the expense of both litigants.” 58 F.2d 32, 34 (4th Cir. 1932). The court ordered a
  new trial on both damages and liability, since the verdict “[spoke] with no greater authority on the
  one subject than on the other.” Id.
     None of BMG’s other cases pertains to jury compromise. See Atl. Coast Line R.R. Co., 251
  F.2d at 938-39 (simply finding that issues of willful misconduct and primary negligence were
  “inextricably tied up” with each other and with the damages issue, where the trial court had im-
  properly given a binding instruction on damages and the entire case had erroneously been tried
  under South Carolina law instead of Georgia law); Ford v. County of Hudson, 2016 WL 6304436,
  *15 (denying the plaintiffs’ motion for a new trial on damages for the single employment discrim-
  ination claim (out of ten) that she had prevailed on, and defendants’s cross-motion, since the single
  employment claim was not “separate and distinct” from the others, but simply “the issue on which
  defendants did not prevail”). And Norfolk S. R.R. Co. v. Ferebee, 238 U.S. 269, 274 (1915), not
  only involved no issue of jury compromise; it upheld a partial retrial on issues that were found to
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                  3.      The Mandate Rule is applicable here.

          Contrary to BMG’s mischaracterization, the Fourth Circuit’s mandate did not require a

  new trial on all issues: rather, the appellate court “remanded to the district court for further pro-

  ceedings consistent with the court’s decision.” ECF 894 (final judgment of the Fourth Circuit);

  ECF 896 (mandate). And as BMG concedes, pursuant to the mandate rule, a district court cannot

  address “any issue that could have been but was not raised on appeal.” Opp. 10 (quoting Chao,

  511 F.3d at 464-65). As discussed in detail above, BMG “could have” raised vicarious liability

  on appeal, either through the mechanism of a conditional cross-appeal, or at least by raising it as

  an alternative basis for affirming the verdict in response to Cox’s appeal. BMG did neither. Thus,

  the mandate rule confirms that BMG is barred from pressing the vicarious liability claim, which

  was rejected by the first jury, a second time.6

                  4.      There is no basis to the notion that, if BMG’s separate and distinct
                          claim for vicarious liability is not retried, the Court must preclude the
                          jury from considering the direct infringement element of contributory
                          liability.

          Finally, there is no basis to BMG’s extraordinary assertion—unsupported by any authority

  —that if the Court bars BMG from retrying its vicarious liability claim, “the same logic” should

  apply to the element of “direct infringement.” Opp. 11. For starters, the Fourth Circuit has held

  that a more stringent standard applies to this case than was applied at the first trial, expressly stating

  that “generalized knowledge” by Cox of “infringement … occurring somewhere on [Cox’s] net-

  work … is exactly what falls short under Sony.” 881 F.3d at 311. Thus, BMG’s evidence of direct


  be “in fact separable, so that the splitting up the issues and granting a partial new trial did not …
  operate to deprive the defendant of a Federal right”).
  6
    Nor is there any basis to BMG’s suggestion that “the mandate rule precludes Cox’s motions in
  limine to allow testimony regarding the Copyright Alert System and the practices other ISPs, to
  exclude the Zabek/Sikes emails, and to issue a revised DMCA instruction at the outset of the case.”
  See supra n.3 and accompanying text.

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  infringement will need to be tied to specific infringements of the specific BMG works at issue.

  The last jury’s finding on direct infringement was not based on that standard.

          Even if the governing legal standard had not changed, however, BMG’s argument is fore-

  closed by the fact that BMG has never pled an independent claim of direct infringement; rather,

  direct infringement is merely an element of its other claims, including the remaining claim for

  contributory infringement. BMG ultimately admits, as it must, that direct infringement may be

  merely “an element of vicarious liability.” Opp. 11 (emphasis added). And BMG cites no case

  holding that courts may (let alone must) carve up the elements of claims, retrying only those ele-

  ments that were the basis for the circuit court’s order of a new trial—let alone where the appellate

  court’s decision requires that the jury apply a new legal standard that is tied to that element.

  III.    CONCLUSION

          For the foregoing reasons, and those stated in Cox’s opening brief, the Court should bar

  BMG from arguing that Cox should be held liable for vicarious infringement, and from offering

  evidence or argument—including without limitation evidence concerning Cox’s right and ability

  to control alleged infringement, and evidence concerning a financial benefit that Cox allegedly

  obtained from such infringement—that is not relevant to any theory of liability remaining in this

  case.



  Dated: August 2, 2018                                  Respectfully submitted,

                                                         /s/ Thomas M. Buchanan
                                                         Thomas M. Buchanan (VSB No. 21530)
                                                         Steffen N. Johnson (pro hac vice)
                                                         1700 K Street, N.W.
                                                         Washington, D.C. 20006-3817
                                                         Tel: (202) 282-5787
                                                         Fax: (202) 282-5100
                                                         Email: tbuchana@winston.com
                                                         Email: sjohnson@winston.com
                                                  -14-
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                                                 Attorneys for Cox Communications, Inc. and
                                                 CoxCom, LLC

  Of Counsel for Defendants

  MICHAEL S. ELKIN (pro hac vice)
  THOMAS PATRICK LANE (pro hac vice)
  SETH E. SPITZER (pro hac vice)
  Winston & Strawn LLP
  200 Park Avenue
  New York, NY 10166
  (212) 294-6700
  Email: melkin@winston.com
  Email: tlane@winston.com
  Email: sspitzer@winston.com

  MICHAEL L. BRODY (pro hac vice)
  Winston & Strawn LLP
  35 W. Wacker Dr.
  Chicago, IL 60601
  (312) 558-5600
  Email: mbrody@winston.com

  JENNIFER A. GOLINVEAUX (pro hac vice)
  Winston & Strawn LLP
  101 California Street
  San Francisco, CA 94111
  (415) 591-1000
  Email: jgolinveaux@winston.com




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                                 CERTIFICATE OF SERVICE

         I certify that on August 2, 2018, a copy of the foregoing Reply Memorandum of Law in

  Further Support of Defendants’ Motion in Limine to Preclude Evidence and Testimony Con-

  cerning Plaintiff’s Vicarious Infringement Claim was filed electronically with the Clerk of

  Court using the ECF system which will send notifications to ECF participants.



                                                      /s/ Thomas M. Buchanan
                                                      Thomas M. Buchanan (VSB No. 21530)
                                                      1700 K Street, N.W.
                                                      Washington, D.C. 20006-3817
                                                      Tel: (202) 282-5787
                                                      Fax: (202) 282-5100
                                                      Email: tbuchana@winston.com

                                                      Attorney for Cox Communications, Inc. and
                                                      CoxCom, LLC




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